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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Case No. 14-cr-00161-REB

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. GEOFFREY H. LUNN, and
2. JAIMIE J. BEEBE,

       Defendants.


                                          ORDER

Blackburn, J.

       The matter comes before me on the Government’s Motion for an Order

Permitting Disclosure of Grand Jury Materials [#53] filed January 29, 2015, pursuant

to Fed. R. Crim. P. 6(e)(3)(E)(i). After careful review of the motion and the file,

       IT IS ORDERED:

       1. That the Government’s Motion for an Order Permitting Disclosure of

Grand Jury Materials [#53] filed January 29, 2015, is GRANTED;

       2. That grand jury testimony and grand jury exhibits and other materials may be

disclosed to the defendants and their attorneys in the course of discovery in this case;

       3. That such materials shall only be used in defending this case;

       4. That such materials shall be disclosed only to the defendants and their

attorneys;

       5. That the defendants’ attorneys shall maintain custody of such materials and

shall not reproduce or disseminate the same; and
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        6. That such materials shall be returned to the United States at the end of the

case.

        Dated February 5, 2015, at Denver, Colorado.

                                                 BY THE COURT:




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